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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


CONTRARIAN CAPITAL MANAGEMENT,
L.L.C., CONTRARIAN CAPITAL FUND I,
L.P., CONTRARIAN DOME DU GOUTER
MASTER FUND, LP, CONTRARIAN
CAPITAL SENIOR SECURED, L.P.,
CONTRARIAN EM II, LP, CONTRARIAN
EMERGING MARKETS, L.P., POLONIUS
HOLDINGS, LLC, and CONTRARIAN
FUNDS, L.L.C.,                             Case No. 19 Civ. 11018 [rel. Nos. 19
                                           Civ. 3123 & 18 Civ. 11940]
                    Plaintiffs,
                                           Hon. Analisa Torres
           v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                    Defendant.


           PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                THEIR MOTION FOR FEES AND EXPENSES


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       Plaintiffs Contrarian Capital Management, L.L.C., Contrarian Capital Fund I, L.P.,

Contrarian Dome du Gouter Master Fund, LP, Contrarian Capital Senior Secured, L.P.,

Contrarian EM II, LP, Contrarian Emerging Markets, L.P., Polonius Holdings, LLC, and

Contrarian Funds, L.L.C. respectfully submit this memorandum of law in support of their motion

for attorneys’ fees and costs.

                                       INTRODUCTION

       The Global Note for the 13.625% 2018 RegS Bonds entitles Plaintiffs to recover “all

reasonable and documented out-of-pocket expenses . . . incurred in connection with any

reasonable investigation of any such Event of Default or the enforcement of the Securities.”

Molo Decl. Ex. A (MSJ Ex. M) at PDF 10. Plaintiffs have incurred attorneys’ fees and expenses

in connection with this litigation to enforce the terms of the 13.625% 2018 RegS Bonds.

Plaintiffs now seek to recover those reasonable fees and expenses pursuant to the terms of the

Global Note. The fees incurred are presumptively reasonable because they were reviewed and

agreed to by sophisticated clients. Moreover, those fees are amply justified in light of the

success achieved in this case. They are in line with market conditions in this District and with

the substantial experience, skill, and efficiency that counsel brought to this matter. And they are

proportional in light of the complexity of this case and the amount at stake. The Court should

award Plaintiffs’ requested fees and expenses in full.

                                        BACKGROUND

       Plaintiffs have worked at every phase of this case to expedite this litigation. They filed

their original complaint on November 29, 2019. Dkt. 1. They then amended that complaint in

December 2019 to add seven more series of bonds. Dkt. 15. Plaintiffs promptly attempted

multiple times to serve the Republic at its New York consulate, where the Republic had agreed

to accept service in the two “Fiscal Agency Agreements” governing the bonds at issue. Molo
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Decl. ¶ 14; see Dkt. 65-8 (1998 FAA) § 14(b); Dkt. 65-9 (2001 FAA) § 14(b). However, because

the consulate was closed, and because other methods of service under the Foreign Sovereign

Immunities Act were unavailable, Plaintiffs worked with the Department of State to serve the

Republic through diplomatic channels. See Dkt. 24 (clerk’s certificate of mailing); see also 28

U.S.C. § 1608(a)(4). Service was completed on January 14, 2020. See 2/04/20 text entry (noting

transmission of diplomatic note as of January 14, 2020); 28 U.S.C. § 1608(c)(1) (diplomatic

service is effective as of “the date of transmittal”).

        Plaintiffs then took steps to streamline discovery. Immediately upon learning that service

had been completed, Plaintiffs wrote the Republic’s counsel in the related cases, proposed the

same protective order agreed to in those cases, and offered to produce all relevant documents in

their possession as soon as the protective order was executed. Molo Decl. Ex. D (Feb. 3, 2020

letter). While that counsel did not respond, the Republic’s current counsel contacted Plaintiffs in

March 2020. Molo Decl. ¶ 16. Plaintiffs and the Republic then submitted a protective order by

March 23, Dkt. 30, which the Court signed, Dkt. 31. On March 26, Plaintiffs produced to the

Republic the same materials used for summary judgment in the related cases. Molo Decl. ¶ 16;

Dkt. 35 at 2.

        Plaintiffs and the Republic then engaged in good-faith discovery about certain questions

and additional requests that the Republic raised. Among other tasks, Contrarian voluntarily

responded to the Republic’s informal document requests and interrogatories and answered

numerous follow-up questions raised by the Republic’s counsel. Molo Decl. ¶ 17; see Dkt. 56 at

1-2 (describing pre-motion discovery). Pursuant to a scheduling order issued on April 10, 2020,

the parties completed that discovery on April 23, subject to one discrete dispute about the

disclosure of Plaintiffs’ beneficial owners, which was resolved at an April 30 court conference.

See Dkt. 41 (scheduling order); 4/30/20 Text Entry (describing conference).

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       After discovery closed, Plaintiffs served their first amended Rule 56.1 statement on April

28, 2020. Dkt. 50 at 1. Plaintiffs and the Republic then engaged in good-faith discussions to

partially resolve the claims at issue in this case (including the settlement conference required by

the Court’s scheduling order, see Dkt. 41 at 2; Dkt. 48 at 2). Molo Decl. ¶ 17. As a result of

those discussions, the parties stipulated twice to dismiss without prejudice all claims by three

Plaintiff funds and certain claims by the remaining Plaintiffs. See Dkts. 49, 53. The parties also

met and conferred to resolve their disagreements about the proper calculation of interest owing

on the Republic’s bonds. See Dkt. 50 at 1.

       On June 1, 2020, the Court entered a briefing schedule on Plaintiffs’ motion for summary

judgment and the Republic’s cross-motion for a stay. See Dkt. 59. Pursuant to that schedule, the

parties’ motions were fully briefed as of August 10, 2020. See id. The Court granted Plaintiffs’

motion for summary judgment in its entirety and denied the Republic’s cross-motion in an

October 1, 2020 opinion. See Dkt. 74. The Court then entered judgment in the full amount of

unpaid principal, coupon interest, and prejudgment interest for Plaintiffs’ bonds on October 16,

2020, ten and one half months after Plaintiffs filed their initial complaint. Dkt. 81.

                                          ARGUMENT

       Under New York law,1 “when a contract provides that in the event of litigation the losing

party will pay the attorneys’ fees of the prevailing party, the court will order the losing party to

pay whatever amounts have been expended by the prevailing party, so long as those amounts are

not unreasonable.” F.H. Krear & Co. v. Nineteen Named Trs., 810 F.2d 1250, 1263 (2d Cir.

1987). In deciding whether fees claimed are reasonable, the court uses a “lodestar” method, “in
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  New York fee-award standards control because the Global Note for the 13.625% RegS Bonds
is governed by New York law. See F.H. Krear & Co. v. Nineteen Named Trs., 810 F.2d 1250,
1263 (2d Cir. 1987) (applying New York law, “which the Contracts provided was to govern,” to
fee determination).


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which the hours reasonably spent by counsel, as determined by the Court, [are] multiplied by the

reasonable hourly rate.” Id. at 1263 (internal quotation marks omitted). “A variety of factors

informs the court’s determination of whether a requested amount of attorneys’ fees is reasonable

or unreasonable, including the difficulty of the questions involved; the skill required to handle

the problem; the time and labor required; the lawyer’s experience, ability and reputation; the

customary fee charged by the Bar for similar services; and the amount involved.” Id. (internal

quotation marks omitted). “ ‘[T]here is no precise rule or formula for determining a proper

attorney’s fees award; rather, the district court should exercise its equitable discretion in light of

all relevant factors.’ ” Star Ins. Co. v. A&J Constr. of N.Y., Inc., No. 15 Civ. 8798, 2018 WL

6177857, at *3 (S.D.N.Y. Nov. 26, 2018).

        Plaintiffs’ fee request easily satisfies those standards. The Global Note for the 13.625%

unambiguously requires the Republic to pay Plaintiffs’ costs and expenses incurred in bringing

this case. As described in the supporting Declaration of Steven F. Molo, Plaintiffs request a total

of $823,949.95 in fees2 and $12,248.25 in out-of-pocket costs. Molo Decl. ¶¶ 28, 31, 33. Those

fees and costs are dwarfed by the judgment of over $280 million that counsel achieved for their

clients on a pace far faster than comparable bondholder litigation. Counsel achieved that result

in a case that raised complex issues of sovereign immunity, federal sanctions regulations, and the

Court’s Article III powers. And counsel’s fees represent a discount to prevailing market rates

that Plaintiffs and other litigants regularly pay in cases of this nature.

I.      THE RELEVANT CONTRACT ENTITLES PLAINTIFFS TO FEES AND COSTS

        In the Global Note for the 13.625% 2018 RegS Bonds, the Republic promised to pay “all

reasonable and documented out-of-pocket expenses of the holders (including, without limitation,
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2
 This total represents Plaintiffs’ lodestar less $112.10, representing sums not paid due to clerical
errors. Molo Decl. ¶¶ 28, 31.


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all reasonable counsel fees and court costs, stamp taxes, duties and fees) incurred in connection

with any reasonable investigation of any such Event of Default or the enforcement of the

Securities.” Molo Decl. Ex. A (Dkt. 65-12) at PDF 10. An “Event of Default” exists if the

Republic fails to pay principal or interest when due and such failure continues for 30 days. Id.

        The Republic does not dispute that it made this promise. See Dkt. 64-2 (response to

Plaintiffs’ operative Rule 56.1 statement ¶¶ 58-59. And it does not dispute that the conditions for

a fee-shifting award have been met. The Republic admits that it did not make numerous interest

payments on the 13.625% RegS bonds that came due from February 2018 to February 2020. Id.

¶¶ 48-49. The Republic thus did not contest in its summary-judgment briefing either that an

Event of Default is continuing with respect to the 13.625% 2018 RegS Bonds or that such event

of default entitles Plaintiffs to their fees and expenses.

        Nor can the Republic dispute that the costs Plaintiffs incurred in litigating this action

overall are costs “incurred in connection with . . . the enforcement of the” 13.625% 2018 RegS

Bonds. Where, as here, a plaintiff ’s “claims for relief [ ] involve a common core of facts” or are

“based on related legal theories,” the “lawsuit cannot be viewed as a series of discrete claims”

for purposes of a fee application. Hensley v. Eckerhart, 461 U.S. 424, 435 (1983). Instead, a

party whose attorney has “obtained excellent results” overall should “recover a fully

compensatory fee,” regardless whether each individual claim is compensable. Id.; see also

LeBlanc-Sternberg v. Fletcher, 143 F.3d 748, 762 (2d Cir. 1998) (if prevailing “claims for relief

‘involve[d] a common core of facts’ or were ‘based on related legal theories’ . . . there should be

a fee award for all time reasonably expended”). The crux of this action concerned issues that

affected Plaintiffs’ claims as a whole, such as the impact of OFAC sanctions and the Republic’s

stay request, and not issues relating to any given bond. As a result, the fees that Plaintiffs are

entitled to under the 13.625% 2018 RegS Bonds are indivisible from their fees incurred in

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prosecuting this case as a whole. See Hensley, 461 U.S. at 465; see also Schultz v. Hembree, 975

F.2d 572, 576-77 (9th Cir. 1992) (in cases where some claims are compensable and some are not,

it is appropriate to award the prevailing party “that amount in fees it would have incurred had the

[compensable] claims been litigated by themselves”).3

        Moreover, to the extent it is possible to identify billing entries for work attributable only

to other sets of Bonds, Plaintiffs have removed those entries from this application. For example,

Plaintiffs excluded time entries solely spent on obtaining authorization to sue on Bonds other

than the 13.625% 2018 RegS Bonds. Thus, all remaining time entries represent time either

devoted to the 13.625% 2018 RegS Bonds in particular or to the litigation as a whole.

II.     COUNSEL ACHIEVED SUBSTANTIAL SUCCESS ON PLAINTIFFS’ CLAIMS

        “The most critical factor in determining a fee award’s reasonableness is the degree of

success obtained[.]” Farrar v. Hobby, 506 U.S. 103, 103 (1992); see also Hensley, 461 U.S. at

435. That factor, by itself, shows that the requested fees and expenses in this case are reason-

able. At a cost of only $823,949.95 in fees, counsel obtained a judgment of over $287 million

that recovered all unpaid principal, coupon interest, and prejudgment interest on the bonds still at

issue in this case.

        Moreover, counsel obtained that result far faster than both contract cases in general in

this District and similar bondholder litigation against the Republic or PDVSA, its state-owned oil

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  Unlike some contractual fee-shifting provisions, the relevant Global Note does not limit fees to
“prevailing parties” in litigation. In any event, Plaintiffs are prevailing parties here. Plaintiffs
prevailed on all their claims and successfully opposed the Republic’s motion to stay. See Dkt. 74
(granting summary judgment on all claims and denying motion to stay). The Court then granted
Plaintiffs judgment in the full amount of unpaid principal, coupon interest, and prejudgment
interest they requested in the bonds still at issue. Dkt. 81. That easily meets the threshold to be
deemed prevailing parties. See Sykes v. RFD Third Ave. I Assocs., LLC, 39 A.D.3d 279, 279
(N.Y. App. Div. 2007) (in deciding whether a party has “prevailed,” courts consider the “ ‘true
scope’ of the dispute litigated and what was achieved within that scope”).


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company. For example, while Plaintiffs proceeded from initial complaint to a final judgment in

ten and a half months, see Dkt. 81 (October 16, 2020 judgment); Dkt. 1 (November 29, 2019

complaint), litigation analytics by LexMachina show that the median contract case in this District

reaches an order on a summary judgment motion within 726 days, or approximately 23.87

months. See Molo Decl. Ex. E. That result was achieved even after delays caused by the

Republic’s failure to accept service at its New York consulate, which required Plaintiffs to

expend additional time serving the Republic through diplomatic channels. See Molo Decl. ¶¶ 14-

15. Similarly, the two bondholder cases against the Republic marked as related to this one took

17.8 and 21.4 months, respectively, to reach a ruling on summary judgment. See No. 19 Civ.

3123, Dkts. 1 & 62 (complaint filed April 8, 2019, and summary judgment granted on September

30, 2020); No. 18 Civ. 11940, Dkts. 1 & 75 (complaint filed December 18, 2018, and summary

judgment granted on September 30, 2020). And other bondholder cases in this District against

the Republic or PDVSA have either taken much longer to reach judgment or have not reached

judgment at all.4 The speed with which Plaintiffs obtained a judgment, too, shows the fees

incurred in reaching judgment are reasonable.

III.   THE REQUESTED RATES ARE PRESUMPTIVELY REASONABLE

       The hourly rates charged by counsel in this case are also reasonable. In their engagement

letter, Plaintiffs agreed for their counsel to charge, and Plaintiffs actually paid, from $395 to

$1,400 per hour for attorneys and $210 per hour for legal assistants.        Molo Decl. Ex. F.

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 See, e.g., Lovati v. Petroleos de Venezuela, S.A., No. 19 Civ. 4799, Dkt. 38 (S.D.N.Y. Oct. 12,
2020) (case filed May 23, 2019 that is currently in discovery); Lovati v. Bolivarian Republic of
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currently awaiting decision on a motion to dismiss and to vacate default); Dresser-Rand Co. v.
Petroleos de Venezuela, S.A., No. 19 Civ. 2689 (S.D.N.Y.) (case filed March 26, 2019 that is
currently in discovery as to defendant PDVSA); White Beech SNC, LLC v. Petroleos de
Venezuela, S.A., No. 18 Civ. 4148 (S.D.N.Y.) (case filed May 9, 2018 that is currently stayed).


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Plaintiffs also agreed to, and actually received, a 10% discount for all invoices that were paid

within 30 days. Molo Decl. ¶ 27.

       Such a fee that a “reasonable, paying client would be willing to pay” is “presumptively

reasonable” because “such a party wishes to spend the minimum necessary to litigate the case

effectively.” Simmons v. N.Y.C. Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009) (citation and

internal quotation marks omitted); see also Danaher Corp. v. Travelers Indem. Co., No. 10 Civ.

121, 2014 WL 4898754, at *2 (S.D.N.Y. Sept. 30, 2014) (“ ‘[T]he amount actually paid to

counsel by paying clients is compelling evidence of a reasonable market rate.’ ” (citation

omitted)). Plaintiffs – Contrarian Capital Management, L.L.C. and associated investment funds

and separately-managed accounts – are sophisticated investors which have regularly retained

counsel for complex litigation matters in this District and elsewhere.       Plaintiffs agreed to

counsel’s rates, reviewed every invoice that counsel submitted, and paid every invoice in full

with the agreed-upon discount. Molo Decl. ¶¶ 27-28.

       The fees are also in line with the market for legal services in this District. When using

the lodestar approach, courts “ ‘generally use the hourly rates employed in the district in which

the reviewing court sits in calculating the presumptively reasonable fee.’ ”           Restivo v.

Hessemann, 846 F.3d 547, 590 (2d Cir. 2017). In this case, the relevant community is the legal

market in New York City. Vista Outdoor Inc. v. Reeves Family Tr., No. 16 Civ. 5766, 2018 WL

3104631, at *5 (S.D.N.Y. May 24, 2018). The fees paid by Plaintiffs are well within the market

range of fees paid for similar legal services in New York. See Molo Decl. ¶ 29. Courts in this

District have consistently approved similar (or higher) rates for attorneys, recognizing that such




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rates are not excessive in the New York market.5 The Republic’s counsel have likewise charged

similar or even higher rates in recent years.6 And media reports indicate even higher rates are

not unusual in the New York market. See Debra Cassens Weiss, At Least 3 BigLaw Firms

Charge More than $1K Per Hour for Top Associates, ABA Journal (May 27, 2020), available at

https://bit.ly/2GZFv5U; Martha Neil, Top Partner Billing Rates at BigLaw Firms Approach

$1,500 Per Hour, ABA Journal (Feb. 8, 2016), available at https://bit.ly/2FsBkim.

MoloLamken’s attorney rates are well within the prevailing market range for New York firms

performing comparable work.7

       Counsel’s rates are also reasonable given the experience and qualifications of the

attorneys involved. MoloLamken is a nationally recognized litigation firm that regularly tries

complex commercial cases, cases involving issues of foreign sovereign immunity, and securities-


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  See, e.g., Vista Outdoor Inc. v. Reeves Family Tr., No. 16 Civ. 5766, 2018 WL 3104631, at *6
(S.D.N.Y. May 24, 2018) (awarding partner billing rates between $1,165 and $1,260 and
associate rates between $382.50 and $693.75); MSC Mediterranean Shipping Co. Holding S.A. v.
Forsyth Kownacki LLC, No. 16 Civ. 8103, 2017 WL 1194372, at *3 (S.D.N.Y. Mar. 30, 2017)
(finding reasonable partner rates between $874.60 and $1,048.47 and associate rates between
$569.02 and $753.42); Themis Cap. v. Democratic Republic of Congo, No. 09 Civ. 1652, 2014
WL 4379100, at *7 (S.D.N.Y. Sept. 4, 2014) (“[P]artner billing rates in excess of $1,000 an
hour[ ] are by now not uncommon in the context of complex commercial litigation.”).
6
 See, e.g., Decl. of Thomas C. White, Universal Instruments Corp. v. Micro Sys. Eng’g Inc., No.
13 Civ. 831, Dkt. 422-2 (N.D.N.Y. Feb. 23, 2018) (reporting rates charged by Sullivan &
Cromwell LLP from 2017 to 2018 between $723 and $1,445 an hour for attorneys); Mem. In
Supp. of Mot. For Attorney’s Fees & Litig. Expenses, Cytec Indus. Inc. v. Allnex (Luxembourg)
& CY S.C.A., No. 14 Civ. 1561, Dkt. 146, at 12 (S.D.N.Y. July 20, 2017) (reporting rates
charged by Sullivan & Cromwell LLP in 2016 between $665 and $1,700 per hour for attorneys
and between $160 to $410 per hour for legal assistants).
7
  The rates charged for other professional staff are likewise within the range of rates found
reasonable within this District. See, e.g., Vista, 2018 WL 3104631, at *7 (noting, in 2018, that
courts in this District award rates of up to $200 per hour for paralegals); Vaigasi v. Solow Mgmt.
Corp., No. 11 Civ. 5088, 2017 WL 3868990, at *4 (S.D.N.Y. Sept. 5, 2017) (same observation in
2017); Advanced Analytics, Inc. v. Citigroup Glob. Mkts., Inc., No. 04 Civ. 3531, 2020 WL
91504, at *5-6 (S.D.N.Y. Jan. 8, 2020) (finding rate of $205.42 reasonable for paralegals).


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litigation matters. Molo Decl. ¶¶ 6-7. The bulk of the work on this case was performed by only

four attorneys, each of whom has substantial relevant experience:

              Steven F. Molo, a founding partner of MoloLamken, has over thirty years of
               experience in civil matters. Mr. Molo led the representation in this case by
               advising the clients on high-level strategic issues and reviewing and approving all
               court filings. Molo Decl. ¶ 10. He has been repeatedly recognized as a leading
               practitioner in the field, having been named for five years as one of the top 100
               trial lawyers in the United States by Benchmark Litigation and for twelve years as
               one of the leading 500 lawyers in the United States by Lawdragon. Molo Decl.
               ¶8; Molo Decl. Ex. B at 1. He has led numerous cases to verdict or judgment
               involving complex commercial and securities matters. Molo Decl. Ex. B at 1-7.
               He billed a total of 81.4 hours on this matter that were included in this fee
               application. Molo Decl. Ex. F at 12.

              Justin M. Ellis, a partner of MoloLamken, was responsible for the day-to-day
               management of this case, including pleadings, motion practice, and discovery.
               Molo Decl. ¶ 10. Together with Mr. Molo, Mr. Ellis also advised the client on
               high-level strategic issues. Id. ¶ 10. Mr. Ellis has been recognized by Benchmark
               Litigation as one of the top bankruptcy and restructuring lawyers in the United
               States and has been named repeatedly as a “Rising Star” by SuperLawyers. Molo
               Decl. Ex. C at 1. Mr. Ellis graduated from the University of Chicago Law School
               in 2009 and served as a law clerk to the Hon. Frank H. Easterbrook of the United
               States Court of Appeals for the Seventh Circuit. Id. at 2. He billed a total of
               347.3 hours on this matter that were included in this fee application. Molo Decl.
               Ex. F at 12.

              Lauren F. Dayton served as the lead associate on the case and handled all aspects
               of complaint drafting, discovery, and motion practice. Molo Decl. ¶ 10. Ms.
               Dayton graduated from the University of Michigan Law School in 2016 and
               served as a law clerk to the Hon. Steven M. Colloton of the United States Court of
               Appeals for the Eighth Circuit and the Hon. Brian M. Cogan of the United States
               District Court for the Eastern District of New York. Molo Decl. Ex. C at 4. She
               billed a total of 443 hours on this matter that were included in this fee application.
               Molo Decl. Ex. F at 12.

              Elizabeth K. Clarke has served the role of a junior associate in this case, and in
               particular participated in discovery and the drafting of Plaintiffs’ summary-
               judgment papers. Molo Decl. ¶ 10. Ms. Clarke graduated from the University of
               Chicago Law School in 2017 and served as a law clerk to the Hon. Allison H. Eid
               of the United States Court of Appeals for the Tenth Circuit and the Hon. Edmond
               E. Chang of the United States District Court for the Northern District of Illinois.
               Molo Decl. Ex. C at 6. She billed a total of 238.3 hours on this matter that were
               included in this fee application. Molo Decl. Ex. F at 12.



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       The case, moreover, was staffed and litigated efficiently. The majority of the work

performed by total hours was completed by two associates, Ms. Dayton and Ms. Clarke, who led

the process of completing discovery, preparing and filing the summary judgment motion, and

handling the responsive briefing. Molo Decl. ¶¶ 10, 19, 22 & Ex. F at 12. That delegation of

work to lower-billing associates is further proof that the fees charged in this case are reasonable.

IV.    THE HOURS CHARGED IN THIS CASE ARE REASONABLE

       There is a “strong presumption that the lodestar figure—the product of reasonable hours

times a reasonable rate—represents a ‘reasonable’ fee.” Pennsylvania v. Del. Valley Citizens’

Council for Clean Air, 478 U.S. 546, 565 (1986); see also Perdue v. Kenny A. ex rel. Winn, 559

U.S. 542, 554 (2010); P.J. ex rel. W.J. v. Conn. State Bd. of Educ., 931 F.3d 156, 169 (2d Cir.

2019). Here, where every invoice was reviewed and paid by a sophisticated client, the amount of

work done is also presumptively reasonable. Simmons, 575 F.3d at 174; Danaher, 2014 WL

4898754, at *2; see also Wells Fargo Bank, NA v. Konover, No. 05 Civ. 1924, 2014 WL

3908596, at *10 (D. Conn. Aug. 8, 2014), aff ’d sub nom. Wells Fargo Bank, N.A. v. Konover

Dev. Corp., 630 F. App’x 46 (2d Cir. 2015). As the attached Declaration of Steven F. Molo

explains, Plaintiffs’ counsel spent a total of 1290.6 hours to prosecute this case from the initial

complaint to judgment. Molo Decl. ¶ 28 & Ex. F at 13.8



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  The amount of hours spent is detailed through summaries of the time billed each month for
each attorney or professional staff member engaged on this case. Molo Decl. Ex. F. Those
summaries are based upon counsel’s contemporaneous fee records. Molo Decl. ¶ 30. Under
Second Circuit standards, the Court “may rely on [such] summaries that are based on
voluminous contemporaneous records.” In re Tremont Sec. Law, State Law & Ins. Litig., 699 F.
App’x 8, 18 n.13 (2d Cir. 2017); see Cruz v. Local Union Number 3 of Int’l Brotherhood of Elec.
Workers, 34 F.3d 1148, 1160 (2d Cir. 1994) (approving award of fees based on billing
summaries based on “contemporaneous entries [made] as the work was completed”). In any
event, state law creates the substantive right to fees for Plaintiffs’ New York claims, and New
York law does not require contemporaneous time records to support a fee application. See

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       The amount of hours is also reasonable in light of the complex and novel legal issues

raised in this case. See Arbor Hill Concerned Citizens Neighborhood Ass’n v. County of Albany,

522 F.3d 182, 186 n.3 (2d Cir. 2008) (among other factors, courts consider the “novelty and

difficulty of the questions” involved in the case). Among other issues, the Republic raised

defenses including whether the Court should stay this case as an exercise of its inherent powers;

whether doctrines of comity and the international-law “doctrine of necessity” also warranted a

stay; whether OFAC sanctions prohibited the entry of judgment, and, if so, whether such

sanctions were an unconstitutional limitation on the Court’s Article III powers; whether, given

the Republic’s sovereign status, the Foreign Sovereign Immunities Act mandated applying a

lower prejudgment interest rate to Plaintiffs’ claims; and whether the Court should enter certain

“fraud-prevention” language in Plaintiffs’ judgment. See, e.g., Dkt. 69 (summary judgment

brief ) at 7-29. Each of those issues is an open question in this Circuit which required substantial

effort for Plaintiffs to research and draft their summary-judgment papers. The complexity of

those issues – and the results obtained by counsel – is further proof that the fees claimed are

reasonable.

       Finally, the amount involved in this case, its timing, the case’s cooperative resolution,

and the quality of opposing counsel’s representation also support the fee petition. See Arbor Hill

Concerned Citizens Neighborhood Ass’n, 522 F.3d at 186 n.3 (courts consider the “amount

involved”). Plaintiffs sought and received over $280 million in their judgment. They litigated

this case against highly sophisticated opposing counsel, including a lead attorney, Joseph

Neuhaus, who has been recognized as one of the leading lawyers in the United States for matters

involving foreign sovereign litigation and international commercial arbitration. See Sullivan &
_________________________________________________________________
Riordan v. Nationwide Mut. Fire Ins. Co., 977 F.2d 47, 53 (2d Cir. 1992); In re Karp, 145
A.D.2d 208, 216 (N.Y. App. Div. 1989).

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Cromwell LLP, Joseph E. Neuhaus, https://bit.ly/31rU3Cr. Plaintiffs did so on a cooperative

basis that avoided needless extra work by informally conducting discovery with the Republic and

by voluntarily resolving numerous of the claims at issue. Molo Decl. ¶¶ 16-17. And they did so

on an expedited timeline given the need to maintain their priority relative to other creditors of the

Republic. Id. ¶ 24. Those factors, too, demonstrate that Plaintiffs’ fees are reasonable.

V.     PLAINTIFFS’ OUT-OF-POCKET EXPENSES ARE REASONABLE

       The Global Note for the 2018 RegS Bonds also entitles Plaintiffs to their reasonable and

documented out-of-pocket expenses incurred in this case. Molo Decl. Ex. A (Dkt. 65-12) at PDF

10; pp. 4-6, supra. Plaintiffs incurred hard costs totaling $12,248.25 in connection with the

enforcement of the 13.625% 2018 RegS Bonds. These costs included the cost of a process

server; fees for diplomatic service (including translation services); court costs and associated

expenses; transcript fees; and costs related to e-discovery management and hosting. See Molo

Decl. ¶ 33 & Ex. H. Courts in this district routinely award such costs. See, e.g., Ambac

Assurance Corp. v. Adelanto Pub. Util. Auth., No. 09 Civ. 5087, 2013 WL 4615404, at *1, *7

(S.D.N.Y. Aug. 29, 2013); HSH Nordbank AG N.Y. Branch v. Swerdlow, No. 08 Civ. 6131, 2010

WL 1141145 (S.D.N.Y. Mar. 24, 2010), aff ’d sub nom. HSH Nordbank AG N.Y. Branch v.

Street, 421 F. App’x 70 (2d Cir. 2011); U.S. Football League v. Nat’l Football League, 887 F.2d

408, 416 (2d Cir. 1989) (awarding out-of-pocket expenses that were “incidental and necessary to

the representation”) (internal quotation marks omitted). In light of the results obtained, those

out-of-pocket costs are amply reasonable. The Court should award them as well.

                                         CONCLUSION

       The Court should award Plaintiffs attorneys’ fees in the amount of $823,949.95 and out-

of-pocket expenses in the amount of $12,248.25.




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Dated:   October 30, 2020             Respectfully submitted,
         New York, New York

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